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                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW HAMPSHIRE


United States of America

     v.                                      Case No. 08-cr-89-02-PB

Jorge Baez



                               O R D E R

     The defendant, through counsel, has moved to continue the

trial scheduled for January 6, 2009, citing the need for

additional time to complete plea negotiations or prepare for

trial.    The government does not object to a continuance of the

trial date.

     Accordingly, for the above reasons and to allow the parties

additional time to properly prepare for trial, the court will

continue the trial from January 6, 2009 to March 3, 2009.             In

agreeing to continue the trial, the court finds pursuant to 18

U.S.C.A. § 3161(h)(8)(A) that for the above-stated reasons, the

ends of justice served in granting a continuance outweigh the

best interests of the public and the defendant in a speedy trial.
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      The December 22, 2008 final pretrial conference is continued

to February 18, 2009 at 3:15 p.m.

      SO ORDERED.


                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge

December 22, 2008

cc:   Richard Hubbard, Esq.
      Debra Walsh, Esq.
      United States Probation
      United States Marshal




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